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!7\..ST'I`,TC1.`_-l"i
UNITED sTATEs oF AMERICA ) §§ l1 l ;z:e`cllst. z
v. ) 3:18-cR-57 ‘ "' f
) JUDGE
RHONDA G. PEEBLES ) \/M ldf/l l G»u¥ lon
CHARLES MICI-IABL WRIGHT ) To be Filed Under Seal
Also known as “Big Mike” )
WESLEY A. HALE )
sAMuEL F. wRIGHT )
TRACI A. MCKELVEY )
MELIssA D. woLFENBARGER )
rNDICTMENT
coUNT 0NE

The Grand Jury charges that from on or about October 1, 2016 to on or about April 3,
2018, within the Eastern District of Tennessee, and elsewhere, the defendants, RHONDA G.
PEEBLES, CHARLES MICHAEL WRIGHT, also known as “Big Mike,” WESLEY A. HALE,
SAMUEL F. WR_IGHT, TRACI A. MCKELVEY, MELISSA D. WOLFENBARGER, and other
persons known and unknown to the Grand .I\n'y, did knowingly, intentionally, and without
authority combine, conspire, confederate and agree with each other and with diverse others to
commit the following offenses against the United States of America: The distribution of 50
grams or more of methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
controlled substance, in violation of Title 21, United States Code, Section 341(a)(l).

[21 U.s.c. §§ 346 and 841(b)(1)(A)}

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COUNT TWO

The Grand lury further charges that from on or about March l, 2017, and continuing to
on or about April 3, 2018, in the Eastern District of Tennessee, and elsewhere, the defendants,
RHONDA G. PEEBLES, CHARLES MICHAEL WRIGHT, also known as “Big Mike," and
other persons known and unknown to the Grand Jury, did knowingly, intentionally, and without
authority, combine, conspire, confederate and agree with each other and with diverse others to
commit offenses against the United States in violation of 'l`itle 18, Unitcd States Code, Section
1956, to wit: knowingly conducting and attempting to conduct financial transactions affecting
interstate commerce and foreign commerce, to wit, the transfer of funds via wire remitting
services and bulk cash transactions sent vial package delivery services, which transactions
involved the proceeds of Specified unlawful activity, that is the conspiracies to distribute 50
grams or more of methamphetamine, its salts', isomers, and salts of its isomers, a Schedule II
controlled substance, with the intent to promote the carrying on and to conceal or disguise the
source, origin, nature, ownership, or control of the proceeds of specified unlawth activity, that is
the conspiracies to distribute 50 grams or more of methamphetamine its salts, isomers, and salts
of its isomers, a Scheduie li controlled substance, and that while conducting and attempting to
conduct such tinanciai transactions knew that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity in violation of Title ll§, United States
Code? Section 1956(a)(1)(A)(i) and l956(a)(1)(B)(i).
[18 U.S.C. § 1956(h)]

COUNT TI~{REE
'l`he Grand Jury charges that on or about November 1, 2017, in the Eastern District of

Tennessee, the defendant, CI-IARLES MICHAEL WR_IGHT, also known as “Big Mike," did

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knowingly, intentionally, and without authority distribute 5 grams or more of methamphetamine,
its salts, isomers, and salts of its isomers, a Schedule ll controlled substance
[21 U.s.C. §§ s41(a)(1)ana(b)(1)(a)]
COUNT FOUR

The Grand Jury charges that on or about January 16, 2018, in the Eastern District of
Tennessee, and elsewhere, the defendant, RHONDA G. PEEBLES, did knowingly, intentionally,
and without authority distribute 50 grams or more of methamphetamine, its salts, isomers, and
salts of its isomers, a Schedule ll controlled substance
[21 U.S.C. §§ S4l(a)(l) and (b)(l)(A)]

§_Q_U_N,I,M

The Grand Jury further charges that on or about January 16, 2018, in the Eastern District
of Tennessee, the defendants, CHAR.LES MICHAEL WR.IGHT, also known as “Big Mike” and
WESLEY A. HALE, aided and abetted by each other, did knowingly, intentionally, and without
authority, possess with the intent to distribute 50 grams or more of methamphetamine, its salts,
isomers, and salts of its isomers, a Schedule II controlled substance
[21 U.S.C. §§ 841(3)(1) and (b)(l)(A) and 18 U.S.C. §2]

COUNT SIX

The Grand .lury charges that on or about January 18, 2018, in the Eastem District of
Tennessee, the defendant, CHARLES MICHAEL WRIGHT, also known as “Big Mike,” did
knowingly, intentionally, and without authority distribute 50 grams or more ot`

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance

{21 U.s.c. §§ s41(a)(i)and(b)(1)(A)]

§ 3

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COUNT SEVEl'\l
The Grand Jury charges that on or about March 23, 2018, in the Eastern District of
Tennessee, the defendant, CHARLES MICHAEL WRlGHT, also known as “Big Mil<e,” did
knowingly, intentionally, and without authority distribute 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance

[21 U.S.C. §§ 84l(a)(1) and (b)(l)(A)]

COUN'I` ElGl-I'I`

The Grand Jury further charges that on or about March 23, 2018, in the Eastern District
of 'l`ennessee, the defendant, TRACI A. MCKELVEY, did knowingly, intentionally, and without
authority, possess With the intent to distribute 50 grams or more of methamphetamine, its salis,
isomers, and salts of its isomers, a Schedule ll controlled substance

[21 U.s.C. §§ 841(3)(1) and (b)(t)(n)]

 

SlGNATURE REDACTED

 

APPROVED:

.l. DOUGLAS OVERBEY
UNITED STATES A'I'I`ORNEY

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ASSIST T UNiTED STATES A'I`TORNEY

 

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